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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                               Case No. 4:16-cr-00003-02 KGB

CURTIS KYLE HACKER                                                                DEFENDANT

                                              ORDER

        On March 22, 2016, this Court appointed Assistant Federal Public Defender Christophe

Tarver to represent defendant Curtis Kyle Hacker in this matter (Dkt. No. 98). Attorney Omar

Greene filed an entry of appearance as retained counsel in this case on April 7, 2016 (Dkt. No.

105).

        For good cause shown, Mr. Greene is hereby substituted as counsel of record for Mr.

Hacker, and Mr. Tarver is relieved from any further representation of Mr. Hacker in this matter.

        It is so ordered this 30th day of June, 2016.



                                                        _________________________________
                                                        Kristine G. Baker
                                                        United States District Judge
